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FILED
“~~ LOGGED ~~ ENTERED
IN THE UNITED STATES DISTRICT COURT RE CE Ive,
FOR THE DISTRICT OF MARYLAND MAR 30 2029
* K
RAFIQ ABUL-QASIM * oy RCS sae
* OF F MARY ACERT
Plaintiff * OEPUT
*
v. * Case No.: J -(V- Th - OJH
*
RAM PAL, et al. *
*
Defendants *

*

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NOTICE OF REMOVAL

Defendants, Ram Pal and G G S Ince., by and through their attorneys, Inga O. Upshaw
and Ryan, Drewniak & Upshaw, P.A., pursuant to 28 U.S.C. §§1332, 1441, and 1446, request
that this matter be removed to this Court, and in support thereof state as follows:

Procedural Background

I. The Plaintiff commenced this action by originally filing a Complaint and Jury
Demand against Defendants Ram Pal and G G S Inc. in the Circuit Court for Prince George’s
County, Maryland, Case Number: CAL22-01831. Copies of the Plaintiff's Writ of Summons
directed to Defendants Pal and G G S Inc., and Complaint and Jury Demand, are attached hereto
as Exhibits A, B and C, respectively.

2 The instant litigation arises out of an automobile accident occurring on November
11, 2019, including vehicles operated by Rafiq Abul-Qasim and Ram Pal. Plaintiff asserts that
he sustained injuries and damages as a result of the November 11, 2019 automobile accident.
See Exhibit C.

3. The Circuit Court for Prince George’s County, Maryland, issued two (2) Writs of

Summonses for the Defendants on February 3, 2022.
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4, The court docket reflects that Plaintiff served Defendant Ram Pal on or about
March 2 2022 via certified mail through the MVA.

5. Plaintiff served Defendant G G S Inc. March 8, 2022 via certified mail.

6. Plaintiff seeks to recover damages from the Defendants in an amount in excess of
Seventy-Five Thousand Dollars ($75,000.00), plus interest and costs of this suit. See Exhibit C.

Statement of Satisfaction of Jurisdictional Requirements

7. Plaintiff Rafiq Abul-Qasim is a citizen of Maryland and resides at 2003 Connor
Court, Unit B, Bowie, Maryland 20721. See Exhibit C.

8. Defendant Ram Pal is a citizen of the State of New York, and resides at 9540
114" Street, Floor 2, S Richmond Hill, New York 11419.

9. Defendant G G S Ine. is a California corporation with its principal place of
business at 1030 Cottonwood Road, Bakersfield, California 93307.

10. The amount in controversy in the matter of Rafiq Abul-Oasim v. Ram Pal, et al. is
in excess of Seventy-Five Thousand Dollars ($75,000.00), plus interest and cost of this suit. See
Exhibit C.

Statement of Eligibility for Removal to U.S. District Court

11. | The amount in controversy in the matter of Rafig Abul-Qasim v. Ram Pal, et
al. exceeds $75,000.00, and there is complete diversity among the parties, thus satisfying the
requirements of 28 U.S.C. §1332(a)(1). Therefore, this Court has original jurisdiction over this
action.

12. This notice of removal has been filed within 30 days of service upon the first

notice of suit. See §4. This notice of removal, therefore, has been filed within 30 days of

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Defendant, Ram Pal’s, receipt of documentation wherein it was ascertained that this case was
removable, thereby meeting the requirements of 28 U.S.C. §1446(b).

13. This case has been removed within one year after the original commencement of
this action, thereby meeting the requirements of 28 U.S.C. §1446(b).

14. A copy of this Notice of Removal and Affidavit is being served on the Plaintiffs
and filed with the Clerk of the Circuit Court for Prince George’s County, Maryland.

15. Having met all requirements of 28 U.S.C. §1332(a)(1) and §1446, this action may
be removed to this Court pursuant to 28 U.S.C. §1441(a).

WHEREFORE, Defendants, Ram Pal and G G S Inc. request that the above-captioned

case be removed from the Circuit Court for Prince George’s County, Maryland.

Respectfully submitted,

MU Pat

Ihgy/O. Usshaw/05883

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Attorneys for Defendants

Ram Pal andG GS Inc.

 

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AFFIDAVIT
I, Inga O. Upshaw, affirm under the penalties of perjury that I am the attorney for
Defendants Ram Pal and G G S Inc. in the foregoing Notice of Removal; that I have prepared the

foregoing Notice of Removal; and that the facts set forth and contained therein are true and

correct to the best of my knowledge, information and belief. | )

Inga 26 Upshaw /

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 29th day of March, 2022, a copy of the foregoing
Notice of Removal and Affidavit was sent via first-class mail, postage prepaid, to the following
counsel of record:

Christina L. Caron-Moroney, Esquire

Thomas V. Mike Miller, Jr., P.A.

8808 Old Branch Avenue

Clinton, Maryland 20735

Attorneys for Plaintiff
Rafiq Abul-Qasim

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